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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Angela Cephas
                                 Debtor                                              CHAPTER 13

PNC Bank, National Association
                              Movant
              vs.
                                                                                   NO. 15-11801 ELF
Angela Cephas                             Debtor

Jeffrey Cephas                            Co-Debtor

William C. Miller Esq.                    Trustee
                                                                              11 U.S.C. Section 362

                           MOTION OF PNC Bank, National Association
                          FOR RELIEF FROM THE AUTOMATIC STAY
                                   UNDER SECTION 362

           1.    Movant is PNC Bank, National Association.

           2.    Debtor and Co-Debtor are the owners of the premises 69 Bartram Avenue, Lansdowne, PA

 19050, hereinafter referred to as the mortgaged premises.

           3.    Movant is the holder of a mortgage, original principal amount of $178,489.00 on the

 mortgaged premises that was executed on July 26, 2007 by Debtor Angela Cephas and Co-Debtor Jeffrey

 Cephas as co-mortgagors. Said mortgage was recorded on July 30, 2007 at Book 4165, Page 381 in Delaware

 County.

           4.     William C. Miller Esq., is the Trustee appointed by the Court.

           5.    The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor.

           6.    Debtor and Co-Debtor have failed to make the monthly post-petition mortgage payments in

 the amount of $1,611.56 for the month of December 2017 and $1,668.43 for the months of January 2018

 through February 2018.

           7.    In addition to the other amounts due to Movant reflected in this Motion, as of the date

 hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred $850.00 in

 legal fees and $181.00 in legal costs. Movant reserves all rights to seek an award or allowance of such fees
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and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy Code

and otherwise applicable law.

        8.       The total amount necessary to reinstate the loan post-petition, less suspense balance of

$1,158.53 is $3,789.89 (plus attorney’s fees & costs).

        9.       Debtor is currently delinquent in plan payments to the Chapter 13 Trustee in the amount of

$1,966.85.

        10.     Movant is entitled to relief from stay for cause.

        11.      This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Automatic Stay under Section

362 and the Codebtor Stay under Section 1301 of the Bankruptcy Code, so as to permit Movant to proceed

with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take any legal

action to enforce its right to possession of the mortgaged premises. Further, Movant prays that an Order be

entered awarding Movant the costs of this suit, including reasonable attorney’s fees in accordance with the

mortgage, loan documents and related agreements, and current law, together with interest.

Date: February 23, 2018
                                                         /s/ Rebecca A. Solarz, Esquire
                                                          Rebecca A. Solarz, Esquire
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